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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


DENNIS MURPHY, Guardian Ad Litem for
N.E.D., an incapacitated minor; JACOB
DOTSON; DOMINQUE BILLY, individually
and as next friend of I.C. and S.D., minors

              Plaintiffs,

v.                                                       No. 1:17-CV-00384 JAP-JHR

THE UNITED STATES OF AMERICA,

               Defendant.



                                CERTIFICATE OF SERVICE

       This is to certify that Plaintiffs filed their Plaintiffs-Appellants’ Request for Post

Judgment Interest on the 12th day of July, 2021 via Federal Express to Gene L. Dodaro, United

States Comptroller General, Government Accountability Office, and to Janet L. Yellen, Secretary

of the Treasury, United States Department of the Treasury.

                                            Respectfully submitted,

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